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                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF CONNECTICUT
                             HARTFORD DIVISION

IN RE:                                   :      CASE NO. 16-20960 (JJT)
                                         :
WALNUT HILL, INC.,
                                         :      CHAPTER 7
           DEBTOR                        :
                                         :      June 18, 2020

                    TRUSTEE’S OBJECTION TO CLAIM NO. 38-1

      To the Debtor, the Debtor’s Attorney and all other parties in interest:

      The undersigned Chapter 7 Trustee, Bonnie C. Mangan, objects to the

allowance of Proof of Claim No. 38-1 that was filed by HEALTHCARE

SERVICES GROUP, INC. on September 16, 2016 in the amount of

$443,408.11. In support of this objection the undersigned represents as

follows:

1.    On June 14, 2016, the Debtor Walnut Hill, Inc., filed a voluntary petition

under Chapter 7 of the United States Bankruptcy Code and the undersigned

was appointed as the Chapter 7 Trustee, qualified under bond and is now

serving as Trustee.

2.    The Clerk set a bar date for claims setting the last date to file claims as

September 15, 2016 (ECF No. 6).

           CLAIM 38-1 FILED BY HEALTHCARE SERVICES GROUP, INC.

3.    On September 16, 2016 Healthcare Services Group, Inc., (“Claimant”),

filed Proof of Claim 38-1 in the amount of $443,408.11 based on a judgment

obtained in a civil action entitled Healthcare Services Group, Inc. v. Walnut Hill,

Inc. d/b/a/ Walnut Hill Care Center, Case No. 3:15-CV-00376 (JCH).
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4.       Proof of Claim 38-1 appears to be an exact duplicate of Proof of Claim

34-1 that was filed by the Claimant on September 15, 2016. Furthermore,

Proof of Claim 38-1 was filed after the claims bar date and is a tardily filed

claim.

5.       The Trustee objects to the allowance of Proof of Claim 38-1 on the basis

that it is a duplicate of Proof of Claim 34-1 and because it was tardily filed.

         WHEREFORE, the undersigned Trustee respectfully requests that Claim

38-1 be disallowed in its entirety.

         Dated at South Windsor, Connecticut this 18th day of June, 2020.

                                 Attorney Bonnie C. Mangan
                                 Chapter 7 Trustee

                                 _/s/ Bonnie C. Mangan________
                                 Bonnie C. Mangan
                                 ct03759
                                 The Law Office of Bonnie C. Mangan, P.C.
                                 Westview Office Park
                                 1050 Sullivan Avenue, Suite A3
                                 South Windsor, Connecticut 06074
                                 (860) 644-4204 Phone
                                 (860) 644-4934 FAX
                                 bonnie.mangan@manganlaw.com
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Connecticut Local Form 420B (Notice of Objection to Claim)                                                                         01/2020

                                              UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF CONNECTICUT
In re: WALNUT HILL, INC.
              [Set forth here all names including married, maiden, and trade
                                                                                                             Case No. : 16-20960
                         names used by debtor within last 8 years.]
                                        Debtor(s)                                                            Chapter:     7

                                                 NOTICE OF OBJECTION TO CLAIM
      BONNIE C. MANGAN, CHAPTER 7 TRUSTEE has filed an objection to your claim in this
bankruptcy case.

       Your claim may be reduced, modified, or eliminated. You should read these papers carefully and
discuss them with your attorney, if you have one.
        [Note to Objecting Party: You must choose a response date that is at least thirty (30) days after the
date the Objection to Claim is filed, unless otherwise ordered.]
            If you do not want the Court to eliminate or change your claim, then on or before
                                                                      JULY 20, 2020
you or your lawyer must file with the Court a written response to the objection, explaining your position.
       If you mail your response to the Court for filing, you must mail it early enough so that the Court will
receive it on or before the date stated above. Your response should be mailed to:

                                                               United States Bankruptcy Court
                                                                   District of Connecticut
                                                             450 Main Street, Hartford CT 06103
           A copy of your response should also be mailed to:
            Bonnie C. Mangan, Chapter 7 Trustee, 1050 Sullivan Avenue, A3, South Windsor, CT 06074
           (Objector and Objector's attorney, if applicable, name and address)

            Office of the United States Trustee, 150 Court Street, Room 302, New Haven, CT 06510
           (Names and addresses of others to be served)
                   If you or your attorney do not take these steps, the Court may decide that you do not
           oppose the objection to your claim.


Date: 06/18/2020                                                                        Signature: /s/ Bonnie C. Mangan

                                                                                        Name:      Bonnie C. Mangan, Chapter 7 Trustee

                                                                                                   1050 Sullivan Avenue, A3, South
                                                                                        Address:
                                                                                                   Windsor, CT 06074




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                    UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF CONNECTICUT
                           HARTFORD DIVISION

IN RE:                                 :        CASE NO. 16-20960 (JJT)
                                       :
WALNUT HILL, INC.,                     :
                                       :        CHAPTER 7
         DEBTOR                        :
                                       :

                ORDER ON OBJECTION TO PROOF OF CLAIM(S)


      The Objection to the Proof of Claim of HEALTHCARE SERVICES GROUP,

INC., Claim number(s) 38-1, filed pursuant to Fed. R. Bankr. P. 3007 dated

(the "Objection to Claim", ECF No.___ ), having come before the Court after

notice and a hearing, see 11 U.S.C. § 102(1), and the Court having considered

the Objection to Claim and any response filed to the Objection to Claim, it

appearing that cause exists to sustain the Objection to Claim; it is hereby

      ORDERED: The Proof of Claim of HEALTHCARE SERVICES GROUP,

INC., Claim No. 38-1, in the amount of $443,408.11 is

                            SUSTAINED/OVERRULED



      AND FURTHER ORDERED THAT Proof of Claim 38-1 is disallowed in its

entirety.



*For the purposes of this order, "Debtor" means "Debtors" where applicable.
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                     UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
                            HARTFORD DIVISION

IN RE:                                 :      CASE NO. 16-20960 (JJT)
                                       :
WALNUT HILL, INC.,
                                       :      CHAPTER 7
         DEBTOR                        :
                                       :      June 18, 2020

                            CERTIFICATE OF SERVICE

      In accordance with applicable provisions of the Federal Rules of
Bankruptcy Procedure, 2002 and 7004, the undersigned certifies that on the
18th day of June, 2020 the following documents were served on the U.S.
Trustee and all appearing parties via the court’s electronic filing system or, by
first class mail on the parties listed in section 2 below.
   1. Documents Served:

          1. Objection to Proof of Claim 38-1;
          2. Notice of Objection to Claim; and
          3. Proposed Order.

   2. Parties Served Via First Class Mail:

             Attn: Matthew M. O’Hara
             Financial Services Manager
             Healthcare Services Group, Inc.
             3220 Tillman Drive #300
             Bensalem, PA 19020
             (Claimant)

             Attorney Joel M. Grafstein
             jgrafstein@grafsteinlaw.com

             Walnut Hill, Inc.
             Attn: President
             27 Lincoln Street
             Berlin, CT 06037
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      Dated at South Windsor, Connecticut this 18th day of June, 2020

                                     /s/Bonnie C. Mangan
                                     Bonnie C. Mangan
                                     Attorney Bonnie C. Mangan
                                     CT 03759
                                     The Law Office of Bonnie C.
                                     Mangan, P.C.
                                     1050 Sullivan Avenue, Suite A3
                                     South Windsor, CT 06074
                                     Phone (860)644-4204
                                     Fax (860) 644-4934
                                     bonnie.mangan@manganlaw.com




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